       Case 2:05-cr-00090-MCE Document 118 Filed 09/26/06 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     HUGO RAMIREZ
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                CR.-S-05-90-WBS
11                                 )
          PLAINTIFF,               )                BRIEFING SCHEDULE AND
12                                 )                STIPULATION FOR BRIEFING
          v.                       )                SCHEDULE AND TO VACATE
13                                 )                CURRENT TRIAL DATE AND
     HUGO RAMIREZ, et al.,         )                PROPOSED ORDER
14                                 )
                                   )
15                                 )
          DEFENDANTS               )
16   _______________________________)
17
           Plaintiff, The United States of America, represented by the United States
18
     Attorney, McGregor W. Scott and Assistant United States Attorney, Matthew D.
19
     Segal, and defendant HUGO RAMIREZ, represented by his attorney, Mr. James R.
20
     Greiner, and defendant, ROBERT OSBORN, represented by his attorney, Ms. Shari
21
     Rusk, request that the Court vacate the current pretrial motions deadline and trial
22
     date, and agree and stipulate to, and request that the Court order, the following
23
     briefing schedule regarding Defendants’ motions in this case:
24
25
           Defendants opening briefs filed
26         on or before                             Wednesday, October 4, 2006
27
28                                              1
       Case 2:05-cr-00090-MCE Document 118 Filed 09/26/06 Page 2 of 4


 1         Government’s opposition filed
           on or before                              Wednesday, November 1, 2006
 2
           Defendant’s reply filed
 3         on or before                              Wednesday, November 15, 2006
 4         Hearing on motions                        Wednesday, December 6, 2006
 5
           As to Defendant Ramirez, time under the Speedy Trial Act continues to be
 6
     tolled as the Court is considering motions. 18 U.S.C. § 3161(h)(1)(F). Further, the
 7
     undersigned parties agree that failure to grant this continuance would deny counsels
 8
     for Defendant Ramirez and the Government the reasonable time for effective
 9
     preparation of the motions to be filed and responded to according to the above
10
     schedule, taking into account the exercise of due diligence. 18 U.S.C. §
11
     3161(h)(8)(B)(iv). The briefing will require the transcription and analysis of
12
     recorded conversations and the analysis of legal issues related thereto. Counsel for
13
     the United States requests one month to answer the motions, as thus far the
14
     Defendants have had more than one year to analyze facts and law related to the
15
     multiple motions that have filed and intend to file. Therefore, the ends of justice
16
     served by granting this continuance outweigh the best interests of the public and
17
     Defendant Ramirez in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
18
           Defendant Osborn has withdrawn from Defendant Ramirez’s motions.
19
     Nonetheless, time is excluded as to him due to the pendency of his co-defendant’s
20
     motions and the necessity for his co-defendant’s counsel to prepare. 18 U.S.C. §
21
     3161(h)(7). Congress enacted that subsection in order to avoid multiple trials in
22
     conspiracies, even for defendants who have expressed different preferences about the
23
     timing of trial. United States v. Varella, 692 F.2d 1352, 1359 (11th 1982). Moreover,
24
     once defendant Osborn files his own motion to suppress, the Speedy Trial Act clock
25
     will again be tolled because of his own motion. 18 U.S.C. § 3161(h)(1)(F)
26
           In addition, the parties request the Court to vacate the current trial date
27
28                                               2
       Case 2:05-cr-00090-MCE Document 118 Filed 09/26/06 Page 3 of 4


 1   scheduled for Tuesday, October 17, 2006, due to the pending motions, the briefing
 2   schedule for the motions and the hearing on the motions.
 3
                                     Respectfully submitted,
 4                                   McGREGOR W. SCOTT
                                     UNITED STATES ATTORNEY
 5
 6                                   /s/ MATTHEW D. SEGAL
     DATED: 9-21-06                  ____________________________________
 7                                   MATTHEW D. SEGAL
                                     ASSISTANT UNITED STATES ATTORNEY
 8                                   ATTORNEY FOR THE PLAINTIFF
 9
     DATED: 9-21-06                  /s/ SHARI RUSK
10
                                     _____________________________________
11                                   SHARI RUSK
                                     ATTORNEY FOR DEFENDANT
12                                   ROBERT OSBORN
13
14                                   /s/ JAMES R. GREINER
     DATED: 9-21-06                  _____________________________________
15                                   JAMES R. GREINER
                                     ATTORNEY FOR DEFENDANT
16                                   HUGO RAMIREZ
17
                                           ORDER
18
             FOR GOOD CAUSE SHOWN, THE TRIAL DATE OF OCTOBER 17,
19
     2006 IS VACATED. However, this case shall remain on calendar for status
20
     conference on October 11, 2006, at 9:00 a.m. At that time, counsel shall be prepared
21
     to formalize the briefing schedule on the above described motions and agree on a trial
22
     date.
23
     DATED: September 26, 2006
24
25
26
27
28                                             3
     Case 2:05-cr-00090-MCE Document 118 Filed 09/26/06 Page 4 of 4


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                       4
